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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 AARON HALL, KATHERINE GLOD, and
 JEFFREY BINDER, on behalf of
 themselves and all others similarly situated,
                                                    Case No.: 4:22-cv-12743-
                                                    LJM-CI
                           Plaintiff
 vs                                                 Honorable F. Kay Behm
                                                    Honorable Curtis Ivy, Jr.
 TRIVEST PARTNERS L.P., TGIF POWER
 HOME INVESTOR, LLC, and WILLIAM
 JAYSON WALLER


                           Defendants


___________________________________________________________________

 DEFENDANTS TRIVEST PARTNERS, L.P. AND TGIF POWER HOME
 INVESTOR, LLC’S MOTION TO CERTIFY FOR INTERLOCUTORY
         APPEAL THE SEPTEMBER 12, 2023, ORDER

      Defendants Trivest Partners, L.P. (“Trivest”) and TGIF Power Home Investor,

LLC (“TGIG”) (collectively “Defendants”) move under 28 U.S.C. § 1292(b) for the

Court to certify for interlocutory appeal its September 12, 2023, order (“Order”).

Defendants conferred with Plaintiffs, and Plaintiffs do not consent to the relief

requested.

      For the reasons set forth more fully in the accompanying Memorandum in

Support, the Court should certify its Order for interlocutory appeal.




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Dated: October 10, 2023.                 Respectfully submitted,

                                         MCGUIREWOODS LLP
                                         By: /s/ R. Trent Taylor
                                         R. Trent Taylor
                                         Gateway Plaza
                                         800 East Canal Street
                                         Richmond, VA 23219-3916
                                         (804) 775-1182
                                         rtaylor@mcguirewoods.com
                                         Counsel for Defendants Trivest and
                                         TGIF

                                         HONIGMAN LLP

                                         E. Todd Sable (P54956)
                                         Robert M. Riley (P72290)
                                         Benjamin J. VanderWerp (P84614)
                                         2290 First National Building
                                         660 Woodward Avenue
                                         Detroit, MI 48226-3506
                                         (313) 465-7548
                                         bvanderwerp@honigman.com
                                         tsable@honigman.com
                                         rriley@honigman.com




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                         CERTIFICATE OF SERVICE

       I hereby certify that on October 10, 2023, I electronically filed the forgoing
with the Clerk of Court using the Court’s ECF system, which will send notification
of such filing to all counsel of record.
                                             Respectfully submitted,

                                             By: /s/ R. Trent Taylor




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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 AARON HALL, KATHERINE GLOD, and
 JEFFREY BINDER, on behalf of
 themselves and all others similarly situated,
                                                 Case No.: 4:22-cv-12743-
                                                 LJM-CI
                           Plaintiff
 vs                                              Honorable F. Kay Behm
                                                 Honorable Curtis Ivy, Jr.
 TRIVEST PARTNERS L.P., TGIF POWER
 HOME INVESTOR, LLC, and WILLIAM
 JAYSON WALLER


                           Defendants


___________________________________________________________________

      DEFENDANTS TRIVEST PARTNERS, L.P. AND TGIF
  POWER HOME INVESTOR, LLC’S MEMORANDUM IN SUPPORT
    OF THEIR MOTION TO CERTIFY FOR INTERLOCUTORY
         APPEAL THE SEPTEMBER 12, 2023, ORDER
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      CONTROLLING OR MOST APPROPRIATE AUTHORITIES

   18 U.S.C. § 1965(b)

   28 U.S.C. § 1292(b)




                                     iv
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                   STATEMENT OF ISSUE PRESENTED

      Should this Court certify its September 12, 2023, order denying Defendants

Trivest Partners, L.P., and TGIF Power Home Investor’s motion to dismiss for

interlocutory appeal?




                                       v
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                                 INTRODUCTION

      Defendants Trivest Partners, L.P. and TGIF Power Home Investor, LLC

sought dismissal of Plaintiffs’ Complaint for lack of personal jurisdiction over both

Defendants in this forum under 18 U.S.C. § 1965(b). The Court’s September 12,

2023 order (“Order”) denied Defendants’ request. Relevant to this motion, the Order

disagreed with Defendants’ argument that Plaintiffs cannot satisfy the “ends of

justice” requirement under 18 U.S.C. § 1965(b) because Plaintiffs have not

adequately pleaded a RICO claim and have failed to show that no other district can

host the litigation. See ECF No. 20, PageIDs 191-93. This Court acknowledged that

there is a circuit split on whether 18 U.S.C. § 1965(b) requires Plaintiffs to show that

no other district can host the litigation, and that the Sixth Circuit has yet to weigh in

on the parameters of the term “[ends] of justice.” ECF No. 32, PageIDs 301-05.

After acknowledging the circuit split on the issue, this Court noted that it “will follow

the Tenth Circuit standard,” and subsequently denied Defendants’ motion to dismiss.

Id. at PageID 304.      Defendants now ask the Court to certify the Order for

interlocutory appeal because it satisfies 28 U.S.C. § 1292(b).

      First, the Order involves a controlling question of law, that is, whether the

term “interests of justice” as used in 18 U.S.C. § 1965(b) requires a RICO plaintiff

to show that there is no other district that would have personal jurisdiction over all

defendants. Second, there is substantial ground for difference of opinion on the legal
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issue Defendants seek to appeal in the Order—an issue which lacks clear, on-point,

controlling authority, but which has caused a split in cases in other circuits and

among district courts here in the Sixth Circuit. Third, appellate resolution of that

question may materially advance the ultimate termination of the litigation.

      For these reasons and those below, the Court should certify the Order for

interlocutory review.

                                    STANDARD

      This Court has authority to certify the Order for interlocutory appeal under 28

U.S.C. § 1292(b). Doing so gives the Sixth Circuit the option to accept the appeal

and resolve important legal issues that may end the case or significantly narrow the

scope of litigation, thus making the process of discovery and trial more efficient. See

Swint v. Chambers Cty. Comm’n, 514 U.S. 35, 47 (1995).

      A district court should certify an interlocutory appeal when:

      (1) a controlling legal question is involved; (2) there is substantial
      ground for difference of opinion regarding it; and (3) an immediate
      appeal would materially advance the litigation’s ultimate termination.

Rafoth v. Nat’l Union Fire Ins. Co., 954 F.2d 1169, 1172 (6th Cir. 1992).

                                   ARGUMENT

      The Order satisfies the elements for interlocutory review under 28 U.S.C.

§ 1292(b). The Court should grant Defendants’ motion.




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   I.      The Order involves a controlling question of law.

        The Sixth Circuit has “set a low bar for a determination that a question of law

is ‘controlling’ in the context of a motion for certification under § 1292(b).”

Newsome v. Young Supply Co., 873 F. Supp. 2d 872, 875–76 (E.D. Mich. 2012).

“[T]he resolution of an issue need not necessarily terminate an action or have

precedential value for a number of pending cases to be controlling.” In re Baker &

Getty Fin. Servs., Inc., 954 F.2d 1169, 1172 n. 8 (6th Cir. 1992). Rather, “all that

must be shown in order for a question to be controlling is that resolution of the issue

on appeal could materially affect the outcome of the litigation in the district court.”

Id.; see also Wright, Federal Practice & Procedure § 3930 (3d ed.) (“A steadily

growing number of decisions . . . have accepted the better view that a question is

controlling, even though its disposition might not lead to reversal on appeal, if

interlocutory reversal might save time for the district court, and time and expense

for the litigants.”).

        Defendants’ interlocutory appeal centers on the Court’s construction of the

statutory phrase “interests of justice” in 18 U.S.C. § 1965(b). An issue of “statutory

interpretation is a question of law.” Johnson v. United States, 64 F.4th 715, 721 (6th

Cir. 2023). That question of law is controlling as to this litigation generally “because

[its] resolution could materially affect the outcome of the case.” In re Trump, 874

F.3d 948, 951 (6th Cir. 2017). And that question of law was controlling as to the

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Order specifically because it was a key analytical point in resolving Defendants’

motion to dismiss. See ECF No. 32, PageIDs 301-05. This element is satisfied.

   II.      There is substantial ground for difference of opinion.

         A substantial ground for difference of opinion exists when:

         (1) the question is difficult, novel and either a question on which there
         is little precedent or one whose correct resolution is not substantially
         guided by previous decisions; (2) the question is difficult and of first
         impression; (3) a difference of opinion exists within the controlling
         circuit; or (4) the circuits are split on the question.

In re Miedzianowski, 735 F.3d 383, 384 (6th Cir. 2013); see also City of Dearborn

v. Comcast of Mich. III, Inc., 2008 WL 5084203, at *3 (E.D. Mich. Nov. 24, 2008)

(same). “A substantial ground for difference of opinion exists where reasonable

jurists might disagree on an issue’s resolution, not merely where they have already

disagreed.” Reese v. BP Exploration, Inc., 643 F.3d 681, 688 (9th Cir. 2011).

         For this analysis, the Court need not hold that the Order was wrong. The

Court can remain “confident that the Order is correct” yet still certify the Order for

interlocutory appeal if “substantial ground for difference of opinion as to its

correctness exists.” Mest v. Cabot Corp., 2004 WL 1058155, *2 (E.D. Pa. May 10,

2004).

         Here, there is a mountain of evidence supporting the “substantial ground for

difference of opinion” prong.




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      Circuit split. As the Court recognized, there is a circuit split regarding the

operative language for exercising personal jurisdiction over alleged RICO co-

conspirators. ECF No. 32, PageIDs 301-05.

      Split between district courts in this Circuit. In addition to the circuit split,

there is a split between courts within the Sixth Circuit on the parameters of the “ends

of justice” language in 18 U.S.C. § 1965(b). Compare Anthony v. Over, 2023 WL

6307960, *3 (E.D. Tenn. Sept. 27, 2023) (following the Tenth Circuit’s approach);

with Enginetec Corp. v. Boutin, 2008 WL 11380215, *4 (N.D. Ohio Dec. 5, 2008)

(following the Ninth and Second Circuits’ approach); and High Adventure

Ministries, Inc. v. Tayloe, 309 F. Supp. 3d 461, 472-73 (W.D. Ky. 2018) (explaining

that “courts have declined to exercise personal jurisdiction under the nationwide

service of process available for RICO claims if there is a district where venue is

proper as to every RICO defendant, without resort to § 1965.”).

      Intra-district split. What is more, there is an intra-district split on this issue.

Compare Rexam Healthcare Packaging, Inc v. Osiris Med., Inc., 2010 WL 819063,

*5 (N.D. Ohio Mar. 9, 2010) (“This Court too declines to follow the Ninth Circuit’s

arbitrary Butcher’s Union rule. Instead, the applicable standard was correctly stated

by the Tenth Circuit: the ‘ends of justice’ is a flexible concept uniquely tailored to

the facts of each case.”); with Enginetec Corp., 2008 WL 11380215 at *4 (following

the Ninth Circuit’s Butcher Union rule and explaining that a “[c]ourt must have

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personal jurisdiction over at least one of the participants in the alleged multidistrict

conspiracy and plaintiffs must show that there is no other district in which a court

will have personal jurisdiction over all of the alleged co-conspirators.”). That the

Eastern Division and Western Division of the same district court have reached

different conclusions on the applicable standard solidifies that there is substantial

ground for difference of opinion.

      Fear of making the “wrong” decision. On top of the conflicting opinions

on the appropriate “ends of justice” analysis, there are courts within the Sixth Circuit

that have chosen to abstain entirely from the “ends of justice” analysis. See e.g.,

Kerman v. Chenery Assocs., Inc., 2007 WL 2363283, *1 n.2 (W.D. Ky. Aug. 14,

2007). This is a loud plea for guidance from the Sixth Circuit on the issue. The

Kerman court, refusing to engage in the “ends of justice” analysis without further

guidance used an entirely different probe to resolve the personal jurisdiction

question before it:

      The Sixth Circuit has not yet spoken concerning the breadth of the
      RICO nationwide service provision. There are various prognostications
      from the district courts of the Sixth Circuit’s analysis of the statute. See,
      Kattula v. Jade, 2007 WL 1695669 (W.D.Ky. June 8, 2007); 800537
      Ontario, Inc. v. Auto Enterprises, Inc., 113 F.Supp.2d 1116
      (E.D.Mich.2000); Iron Workers Local Union No. 17 Ins. Fund v. Philip
      Morris Inc., 23 F.Supp.2d 796 (N.D.Ohio 1998). Rather than jump into
      the fray, the court will rely upon a traditional minimum contacts
      analysis, consistent with the allegations of the complaint and
      established law to find personal jurisdiction over Chenery.

Id.

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      The lack of certainty on the parameters of the “ends of justice” language

provides sufficient grounds to certify the Order for interlocutory appeal. See In re

Miedzianowski, 735 F.3d at 384 (finding a substantial ground for difference of

opinion when “a difference of opinion exists within the controlling circuit; or [ ] the

circuits are split on the question” and it is a question that the circuit in question has

not answered); Schwendimann v. Arkwright Advanced Coating, Inc., 2012 WL

5389674 (D. Minn. Nov. 2, 2012) (“substantial ground for difference of opinion”

existed where district courts disagreed about a legal question that the Federal Circuit

Court of Appeals had not yet addressed).

      Over the years, courts have been particularly willing to allow interlocutory

appeal on jurisdictional issues. See e.g., Gilmore v. Jones, 2019 WL 4417490, at *4

(W.D. Va. Sept. 16, 2019) (“Defendants correctly assert that the issue for

certification—the reach of a state’s personal jurisdiction over online publishers—

can be appropriately cabined as a purely legal one.”); Great Lakes Gas Transmission

Ltd. P’ship v. Essar Steel Minnesota, LLC, 2015 WL 3915687 at *4 (recognizing

jurisdictional issue as a controlling question of law because “[r]eversal of the Court’s

finding of federal question jurisdiction would terminate this action and result in

dismissal of Plaintiff’s case”); Jungquist v. Sheikh Sultan Bin Khalifa Al Nahyan,

115 F.3d 1020, 1023 (D.C. Cir. 1997) (considering interlocutory appeal of the denial




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of a motion to dismiss the complaint for lack of subject matter and personal

jurisdiction). This Court should do the same here.

      A grant of Defendants’ motion to dismiss for lack of personal jurisdiction

would “materially advance the ultimate termination of the litigation.” 28 U.S.C. §

1292(b). Indeed, a grant of Defendants’ motion to dismiss would end the litigation

against Defendants here. Defendants maintain that there is no personal jurisdiction

over Defendants under a traditional personal jurisdiction analysis, or under 18

U.S.C. § 1965(b). As demonstrated above, the differing views among district courts

within the Sixth Circuit presents strong grounds for certification of this issue for

interlocutory appeal.    It is appropriate for this Court to certify this personal

jurisdiction question for interlocutory appeal. See e.g., GTE New Media Servs. Inc.

v. Ameritech Corp., 44 F. Supp. 2d 313, 315-16 (D.D.C. 1999) (“[T]he court believes

it appropriate to certify the question of personal jurisdiction for interlocutory

appeal.”); Gilmore, 2019 WL 4417490 at *6 (recognizing that a substantial ground

for difference of opinion existed when the district courts within the Fourth Circuit

disagreed regarding the dispositive issue of personal jurisdiction and the Fourth

Circuit itself had not weighed in). It is evident from the split within the Sixth Circuit

that there is substantial ground for difference of opinion on the parameters of the

“ends of justice” language in 18 U.S.C. § 1965(b). This element is satisfied.




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   III.   An immediate appeal may materially impact whether and how the
          litigation proceeds, thus serving the parties’ best interests.

      Simply providing a means of more quickly resolving a case fulfills the

mandate that “an immediate appeal may materially advance the termination of the

litigation.” In re Trump, 874 F.3d 948, 952 (6th Cir. 2017). The standard is may—

not must. See id. The requirement that an appeal may materially advance the

ultimate termination of the litigation is closely tied to the requirement that the order

involve a controlling question of law. See id. at 951.

      An immediate interlocutory appeal in this case would materially advance the

ultimate termination of the litigation. An interlocutory appeal would eliminate the

risk of the parties litigating this matter to completion in this Court, only to have the

Sixth Circuit ultimately hold that dismissal of Plaintiffs’ Complaint was warranted.

Certification thus promotes the parties’ best interests. This element is satisfied.

                                   CONCLUSION

      The Court should grant Defendants’ motion and award all appropriate relief.

Dated: October 10, 2023.

                                               MCGUIREWOODS LLP
                                               By: /s/ R. Trent Taylor
                                               R. Trent Taylor
                                               Gateway Plaza
                                               800 East Canal Street
                                               Richmond, VA 23219-3916
                                               (804) 775-1182
                                               rtaylor@mcguirewoods.com


                                           9
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                                          Counsel for Defendants Trivest and
                                          TGIF

                                          HONIGMAN LLP

                                          E. Todd Sable (P54956)
                                          Robert M. Riley (P72290)
                                          Benjamin J. VanderWerp (P84614)
                                          2290 First National Building
                                          660 Woodward Avenue
                                          Detroit, MI 48226-3506
                                          (313) 465-7548
                                          bvanderwerp@honigman.com
                                          tsable@honigman.com
                                          rriley@honigman.com




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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 AARON HALL, KATHERINE GLOD, and
 JEFFREY BINDER, on behalf of
 themselves and all others similarly situated,
                                                  Case No.: 4:22-cv-12743-
                                                  LJM-CI
                           Plaintiff
 vs                                               Honorable F. Kay Behm
                                                  Honorable Curtis Ivy, Jr.
 TRIVEST PARTNERS L.P., TGIF POWER
 HOME INVESTOR, LLC, and WILLIAM
 JAYSON WALLER


                           Defendants


___________________________________________________________________

                             [PROPOSED] ORDER

      Defendants Trivest Partners, L.P., and TGIF Home Investors, LLC’s motion

to certify this Court’s September 12, 2023, order for interlocutory appeal under 28

U.S.C. 1292(b) is hereby GRANTED.

      Further proceedings in this Court are stayed pending the Sixth Circuit’s

determination on whether to accept Defendants’ interlocutory appeal.



                                                   _______________________
                                                   Judge F. Kay Behm




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                         CERTIFICATE OF SERVICE

       I hereby certify that on October 10, 2023, I electronically filed the forgoing
with the Clerk of Court using the Court’s ECF system, which will send notification
of such filing to all counsel of record.
                                             Respectfully submitted,

                                              By: /s/ R. Trent Taylor




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